                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                       AUG 22 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                       No. 23-1619
                                                D.C. No.
             Plaintiff - Appellee,              3:17-cr-02402-LAB-1
 v.
                                                MEMORANDUM*
RANGSEY ARUNDECH PICH,

             Defendant - Appellant.

                   Appeal from the United States District Court
                     for the Southern District of California
                    Larry A. Burns, District Judge, Presiding

                      Argued and Submitted August 13, 2024
                              Pasadena, California

Before: EBEL, BADE, and FORREST, Circuit Judges.**
Concurrence by Judge FORREST.

      Rangsey Arundech Pich appeals the district court’s July 24, 2023 judgment

revoking his supervised release. He contends that the district court lacked

jurisdiction to revoke supervised release. We review de novo the district court’s


      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The Honorable David M. Ebel, United States Senior Circuit Judge for
the Court of Appeals, 10th Circuit, sitting by designation.
jurisdiction over revocation proceedings regardless of any failure to object before

the district court. See United States v. Estrada, 81 F.4th 859, 861 (9th Cir. 2023).

We have jurisdiction under 28 U.S.C. § 1291, and we affirm.

      A district court has “jurisdiction to revoke a term of supervised release

[only] during its pendency.” United States v. Earl, 729 F.3d 1064, 1066 (9th Cir.

2013); see also 18 U.S.C. § 3583(e)(3). Pich contends that the district court

unambiguously revoked his supervised release on February 7, 2022, and therefore

his term of supervised release was terminated and no longer pending on July 25,

2023. Thus, Pich argues that the district court did not have jurisdiction to revoke

his supervised release on July 25, 2023.

      At the February 7, 2022 revocation hearing, the district court said that it

revoked supervised release, but it also stayed imposition of a custodial sanction,

ordered Pich to complete a 90-day residential inpatient drug treatment program,

mentioned the possibility of a future order to show cause, and said it would make a

“final” decision at another hearing in about three months. These statements are

subject to “two or more different constructions, both of which are reasonable.”

United Staes v. Allen, 157 F.3d 661, 668 (9th Cir. 1998). The court’s statements

can reasonably be interpreted as either revoking supervised release, or as

continuing Pich on supervised release with the additional condition of participating

in the residential drug treatment program. Therefore, the court’s statements are



                                        2                                    23-1619
ambiguous. See id. The minute entry on that same date is also ambiguous for the

same reason.

      Under these circumstances, we look to the judgment, the district court’s

written expression of the sentence, and the district court’s subjective intent to

resolve the ambiguities. See United States v. O’Brien, 789 F.2d 1344, 1347 (9th

Cir. 1986) (explaining that the court could look to the judgment to resolve

ambiguities in sentence); Green v. United States, 447 F.2d 987, 987 (9th Cir. 1971)

(per curiam) (same); Fenner v. U.S. Parole Comm’n., 251 F.3d 782, 786 (9th Cir.

2001) (“[T]o the extent that there is an ambiguity in the sentence, we properly may

consider the sentencing judge’s subjective intent.”).

      Here, the district court did not enter a judgment after the February 7, 2022

hearing, but the abstract of order states that “Defendant [is] continued on

supervised release.” And at the May 16, 2022 status hearing, the district court

observed that Pich had completed the residential drug treatment program, he had

“been on supervised release” while he participated in the program, and reminded

Pich that he had “to comply” with the “conditions of supervised release.” The

minute entry on that same date states “Defendant to comply with conditions of

supervised release.” The abstract of order, the district court’s statements at the

status hearing, and the district court’s revocation of supervised release on July 23,

2023, demonstrate that the court continued Pich on supervised release at the



                                         3                                    23-1619
February 7, 2022 hearing.1 See O’Brien, 789 F.2d at 1347 (determining that when

a judgment is ambiguous, the appellate court could consider the “trial judge’s later

denial of the motion for release from probation [as] convincing and probative

evidence that he originally intended to run the probation consecutive” to the

defendant’s other sentences).

      Pich’s reliance on United States v. Wing, 682 F.3d 861 (9th Cir. 2012), is

misplaced because the facts are dissimilar. Unlike here, in Wing, it was undisputed

that the district court had revoked a term of supervised release and imposed a new

term of supervised release to follow a term of imprisonment. Id. at 863. The issue

in Wing was whether the revocation of supervised release was based on a violation

of a condition of the term that was already revoked. Id. at 863–64, 874. That issue

is not present here.

      Therefore, we reject Pich’s argument that the district court did not have

jurisdiction to revoke supervised release on July 23, 2023.

      AFFIRMED.




      1
        The same district judge presided over all relevant proceedings. See
O’Brien, 789 F.2d at 1347 n.2 (“It is crucial to note that the judge who denied the
motion for release from probation was the same judge who originally sentenced
appellant and was, therefore, in a good position to interpret the judgment.”).

                                        4                                  23-1619
United States of America v. Rangsey Arundech Pich, No. 23-1619      FILED
Forrest, J., concurring:
                                                                    AUG 22 2024
      I concur in the court’s judgment.                          MOLLY C. DWYER, CLERK
                                                                  U.S. COURT OF APPEALS




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